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10   DAN BACHUS, and STAN MEYER
11   [Additional Counsel on Signature Pages]

12
                             UNITED STATES DISTRICT COURT
13
                               FOR THE DISTRICT OF ARIZONA
14
     KATIE OGDON, an individual, on behalf of Case No. CV-22-00477-PHX-DLR
15   herself and all others similarly situated,
                                                Assigned to the Hon. Douglas L. Rayes
16                  Plaintiff,
                                                DEFENDANTS’ NOTICE OF AMENDED
17          v.                                  MOTION AND AMENDED MOTION TO
                                                DISMISS PLAINTIFF’S FIRST
18   GRAND CANYON UNIVERSITY, INC., an AMENDED COMPLAINT FOR
     Arizona corporation, and GRAND CANYON FAILURE TO STATE A CLAIM
19   EDUCATION, INC. d/b/a GRAND
     CANYON UNIVERSITY, a Delaware              Fed. Rule of Civ. Proc. 12(b)(6)
20   corporation, BRIAN MUELLER, DAN
     BACHUS, STAN MEYER,
21
                  Defendant.
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                                                              Case No. CV-22-00477-PHX-DLR
                        DEFENDANTS’ NOTICE OF AMENDED MOTION TO DISMISS
          Case 2:22-cv-00477-DLR Document 61 Filed 05/27/22 Page 2 of 3



1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2           PLEASE TAKE NOTICE that Defendants GRAND CANYON UNIVERSITY, INC.,
3    GRAND CANYON EDUCATION, INC., BRIAN MUELLER, DAN BACHUS, and STAN
4    MEYER (“Defendants”), will and hereby do move to dismiss the claims of Plaintiff KATIE
5    OGDON (“Plaintiff”), made in her First Amended Complaint (Docket # 18), for failure to
6    state a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.
7           This Amended Motion is made pursuant to this Court’s Orders (Docket #54 and #56)
8    granting the Parties’ Joint Letter Request for Amended Motion to Dismiss Briefing (Docket
9    # 53). See concurrently filed Local Rule 12.1 Certification of Counsel.
10          This Amended Motion is based on the grounds that Plaintiff’s claims for fraud, RICO,
11   and violation of the California Consumer Protection Statutes fail to state a claim upon which
12   relief may be granted.
13          This Amended Motion is based on this Notice of Amended Motion, the attached
14   Memorandum of Points and Authorities in support of the Amended Motion to Dismiss, the
15   Declaration of Kathleen Hall in support of Defendant’s Motion to Dismiss (Docket # 10), the
16   Exhibits attached to said Declaration, the Certification of Counsel in support of Defendants’
17   Amended Motion to Dismiss, the Proposed Order filed concurrently herewith, and all
18   pleadings and papers on file herein.
19
     Dated: May 27, 2022         Respectfully submitted,
20
                                 ELIZABETH A. SPERLING
21                               DERIN B. DICKERSON (Pro Hac Vice)
                                 ANDREW J. LIEBLER (Pro Hac Vice)
22                               ALSTON & BIRD LLP

23                               By: /s/ Elizabeth A. Sperling
                                      Elizabeth A. Sperling
24                                    Attorneys for Grand Canyon Education, Inc., Brian
                                      Mueller, Dan Bachus, and Stan Meyer
25
     Dated: May 27, 2022         AMY L. PIERCE (Pro Hac Vice)
26                               LEWIS BRISBOIS BISGAARD & SMITH LLP

27                               By: /s/ Amy L. Pierce____
                                        Amy L. Pierce
28                                      Attorneys for Defendant Grand Canyon University, Inc.

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                        DEFENDANTS’ NOTICE OF AMENDED MOTION TO DISMISS
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1                                 CERTIFICATE OF SERVICE
2           I hereby certify that on May 27, 2022, I caused a copy of DEFENDANTS’ NOTICE
3    OF AMENDED MOTION AND AMENDED MOTION TO DISMISS PLAINTIFF’S
4    FIRST AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM to be served
5    upon counsel in the manner described below:
6    Via the Court’s CM/ECF system:
7
     Annick Persinger
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14
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15   Attorneys for Plaintiff

16
                                     By: /s/ Elizabeth A. Sperling
17                                      Elizabeth A. Sperling
18                     Attorneys for Defendants Grand Canyon Education, Inc.,
                             Brian Mueller, Dan Bachus, and Stan Meyer
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                                                   2          Case No. CV-22-00477-PHX-DLR
                        DEFENDANTS’ NOTICE OF AMENDED MOTION TO DISMISS
